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r-'rl.ED nw ' 7 _, g_r;_
IN THE UNITED sTATEs DISTRICT coURT
FoR THE wEsTERN DISTRICT oF TENNESSEE QSHHY ~9 A_H 3: 314
wEsTERN DIVISIoN

 

 

ROBERT SCOTT LEWISlr
Plaintiff,

v. No. 03-2405 Ml/An

SHELBY COUNTY GOVERNMENT,

and Sgt. J.L. MAYES,

individually and in his

official capacity,

Defendants.

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ORDER GRANTING DEFENDANTS’ MOTION FOR SU'MM.AR`Y J'UDGMENT

 

Before the Court is Defendants' Motion for Summary Judgment,
filed on December 30, 2004.1 Plaintiff responded to Defendants’
motion on March 7, 2005.2 Defendants filed a reply to
Plaintiff's response on March 23, 2005. For the following

reasons, Defendants' motion is GRANTED.

 

1 Defendants filed a separate Statement in Acoordance With
Local Rule 7.2 in Support of Rule 56(B) Motion for Summary
Judgment on December 30, 2004. Defendants also filed a
Supplemental Brief in Support of Defendants’ Motion for Summary
Judgment and an Amendment to Defendants’ Statement in Accordance
With Local Rule 7.2 in Support of Rule 56(b) Motion for Summary
Judgment on January 6, 2005.

2 The Court granted Plaintiff an extension until March 7,
2005, to respond to Defendants’ motion. Plaintiff filed an
errata to his response, a supplemental memorandum, and a response
to Defendants' statement of facts on March 9, 2005. Plaintiff
then filed a second errata to his supplemental memorandum on f
March lS, 2005. '

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with Ru|e 58 andfor 79(3) FHCP on b ' ’O

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I . BACKGROUND

The instant case arises from the arrest of Plaintiff Robert
Scott Lewis on May 29, 2002, by Defendant Sergeant J.L. Mayes.
On May 28, 2003, Plaintiff filed a complaint alleging abuse of
process, false arrest, malicious prosecution, unreasonable
seizure, and false imprisonment in violation 42 U.S.C. § 1983.

Plaintiff Robert Scott Lewis owns and operates the Raleigh
Feed Store, located in Memphis, Tennessee. (Cplt. l 6.) On or
about April 20, 2002, it came to the attention of Shelby County
law enforcement officials that three horses owned by Arnita and
Melissa Stine were in poor condition and had been neglected by
their owners. On or about April 23 or 24, 2002, Plaintiff picked
up the horses from the Stines and transported them to his farm in
Hardeman County, 'I‘ennessee.3

Between April 26 and May 29, 2002, Plaintiff fed and watered
the horses, provided them with antibiotics, and generally nursed
them back to health. The condition of the horses greatly
improved from Plaintiff's efforts.

Also between April 26 and May 29, 2002, Sgt. Mayes informed
Plaintiff that he was investigating whether or not the Stines

should be charged with animal cruelty regarding several animals,

 

3 Plaintiff contends that the Stines gave Plaintiff the
horses in exchange for wiping out their feed bill of over $l,OOO,
and that he was given the registration papers and cogging for the
horses. (See Pl.'s Resp to Defs.' Statement of Facts at 2.) `

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including the horses that had been taken by Mr. Lewis to his farm
in Hardeman County. During that time frame, Sgt. Mayes contacted
both Plaintiff and his sister, Connie Page, to inform them that
Plaintiff needed to return the horses to Shelby County so that
Sgt. Mayes could complete his investigation of the Stines and so
that the horses could be examined by a veterinarian.4 Also
during that time frame, Sgt. Mayes explained to Plaintiff that he
would bring a veterinarian and meet Mr. Lewis at the Shelby
County line so that the veterinarian could examine the horses.
Plaintiff did not agree to that request.

On or about May 29, 2002, Sgt. Mayes swore out an Affidavit
of Complaint and testified before the Hon. Rhonda Harris, General
Session Judicial Commissioner, who, after examining Sgt. Mayes,
signed an arrest warrant charging Mr. Lewis with tampering with
or fabricating evidence in violation of Tennessee Code Annotated
§ 39-16-503. (Attached as unnumbered exhibit to Defs.' Reply
Brief in Supp. of Summ. J.) That arrest warrant was issued on

May 29, 2002, at 10:54 a.m. and docketed in the General Sessions

 

4 Plaintiff contends that Sgt. Mayes threatened to put him
in jail if he did not return the horses, and that Plaintiff
informed Sgt. Mayes that he did not have the proper equipment to
transport the horses to Shelby county, but would have either
allowed a veterinarian to come to his farm to inspect the horses
or brought to horses to Shelby County if provided with the
appropriate equipment. (See Pl.'s Resp to Def.'s Statement of
Facts at 3»7.)

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Clerk’s Office. The Affidavit of Complaint accompanying the
warrant states as follows:

Personally appeared before me Sgt. J.L. Mayes and made
an oath that on or about the 23rd day of April, 2002,

in said County, and within the jurisdiction of the
Criminal Court of Shelby County, Tennessee, one Robert
S. Lewis, Age 40, [s]ex male, whose last known address
is 4284 Fayette Rd., did unlawfully commit the
offense(s) of Tampering with or fabricating evidence
39-16~503 and the essential facts constituting said
offense(s) and the source of the affiant’s information
are as follows: On 04-23-02 the affiant met with
officers from the Memphis Animal Shelter in reference
to an animal cruelty complaint at 8895 E. Shelby Dr.
Upon arrival at the location[,] officers spoke with the
homeowner who stated that Arnita Stine was renting the
barn area from them for her horses. Owner of the
property was advised of complaints that was [sic]
received by the shelter and gave officers permission to
enter the barn to check on the horses. Upon entering
the barn[,] officers found three horses inside the barn
one was able to get fresh water and graze (see attached
Copy) in the pasture while two of the horses were
confined without water or any feed inside the barn.

The confined horses were underweight and there [sic]
coat was dull and had areas of hair loss. Mrs. Jones
also advised the officers that one horse had died over
the weekend. On 04-25-02 a warrant was obtained on
Arnita Stine and her daughter Melissa Stine for cruelty
to animals. Officers returned to the address on Shelby
Dr. with Rebecca Coleman DVM to check the horses[’]
condition from a professional stand point and found the
horses had been removed from the property. After
further investigation it was learned that the above
defendant had taken the horses from the property to his
sisters[’] property in Hardeman County. Affiant spoke
with the defendant and advised him of an on going
investigation about the horses and he refused to
cooperate with the affiant on bringing the horses back
to Shelby County, defendant stated to the affiant “why
don’t y’all leave Mrs. Stine the [expletive] alone”.
Defendant was advised of charges that he could be
facing and still refused to cooperate. This all
occurred in Shelby County, T[N].

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The affidavit is signed by Sgt. Mayes before the Hon. Rhonda
Harris and dated May 29, 2002.

On May 29, 2002, between ll:OO a.m. and 12:00 noon,
Plaintiff was taken into custody at his Raleigh Feed Store by
Sgt. Mayes and Sgt. Ray Sides. Mr. James Gardener was in the
Raleigh Feed Store on May 29, 2002, and witnessed the arrest of
Plaintiff. Sgt. Mayes then delivered Plaintiff to the Shelby
County Sheriff’s Fugitive Squad at approximately 12:35 p.m.5
Plaintiff was released on his own recognizance at 2:03 a.m. on
May 30, 2002. The charges against Plaintiff were eventually
dropped and he was not prosecuted for the crime for which he was

arrested.

 

5 Plaintiff contends that, at some point on May 29, a second
warrant was issued for theft of property over $500 or $5,000.
However, it is undisputed that Plaintiff never saw any arrest
warrant charging him with theft of property. (See Pl.’s Resp. to
Defs.' Statement of Facts at 19.) Moreover, it is also undisputed
that reviews of the relevant official records, including a review
by Plaintiff himself, establish that no warrant for theft of
property was issued. (See id. at 21.) Further, it is undisputed
that on May 29, 2002, Shelby County Pretrial Release determined
that as of 7:30 p.m. on May 29, 2002, the only warrant issued
concerning Mr. Lewis was the warrant charging him with tampering
with or fabricating evidence issued by Hon. Rhonda Harris on May
29, 2002. (See id. at 15.) Plaintiff maintains that there exists
a warrant charging him with theft of property based upon: Sgt.
Mayes' purported statements during the arrest; Mr. Gardner’s
testimony that he thought he saw such a warrant in Sgt. Mayes’
hand during the arrest; and Plaintiff's assertion that a female
at the Sheriff’s Department ripped up a piece of paper that
Plaintiff contends was that warrant, stating “this is the wrong
one” (See id. at 21). Plaintiff points to no evidence in the
record, however, to indicate that he or Mr. Gardner have any
personal knowledge of such a warrant. Accordingly, their
assertions are inadmissible under Federal Rule of Evidence 602.

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II. SU'MMARY J'UDGMENT STANDARD

Under Federal Rule of Civil Procedure 56(c), summary

judgment is proper “if . . . there is no genuine issue as to any
material fact and . . . the moving party is entitled to judgment
as a matter of law.” Fed. R. Civ. P. 56{c); see also Celotex

Corp. v. Catrett, 477 U.S. 317, 322 (l986). The Supreme Court
has explained that the standard for determining whether summary
judgment is appropriate is “whether the evidence presents a
sufficient disagreement to require submission to a jury or
whether it is so one-sided that one party must prevail as a
matter of law.” Anderson v. Libertv Lobbv, Inc., 477 U.S. 242,
251-52 (1989).

So long as the movant has met its initial burden of
“demonstrat[ing] the absence of a genuine issue of material
fact," Celotex, 477 U.S. at 323, and the nonmoving party is
unable to make such a showing, summary judgment is appropriate.
Emmons v. McLaughlin, 874 F.Zd 351, 353 (6th Cir. 1989). In
considering a motion for summary judgment, “the evidence as well
as all inferences drawn therefrom must be read in a light most
favorable to the party opposing the motion.” Kochins v.
Linden~~Alimakc Inc., 799 F.2d 1128, 1133 (Gth Cir. 1986); see
also Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S.
574, 587 (1986). “[A]t the summary judgment stage the judge's

function is not himself to weigh the evidence and determine the

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truth of the matter but to determine whether there is a genuine
issue for trial.” Anderson, 477 U.S. at 249.
III . ANALYSIS

Defendants move for summary judgment regarding all of
Plaintiff's claims because the arrest of Plaintiff was assertedly
supported by probable cause and that no alleged constitutional
violations can be traced to any Shelby County municipal policy or
custom. In his response to Defendants' motion, Plaintiff
contends that summary judgment is inappropriate because there
purportedly exist genuine issues of material fact regarding
whether Sgt. Mayes arrested Plaintiff for theft of property
rather than tampering with evidence and regarding whether Shelby
County properly trained Sgt. Mayes regarding procedures for
conducting a proper arrest and seeking an arrest warrant.

Section 1983 does not create substantive rights, but rather
serves as a “method for vindicating federal rights elsewhere
conferred.” Baker v. McCollan, 443 U.S. 137, 144 n.3 (1979). To
establish a prima facie case under Section 1983, a plaintiff must
prove two elements: (1) that the government action occurred
“under color of law” and (2) that the action is a deprivation of
a constitutional right or federal statutory right. Parratt v.
Taylor, 451 U.S. 527, 535 (1981); Block v. Ribar, 156 F.Bd 673,

677 (6th Cir. 1998). “The first step in any such claim is to

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identify the specific constitutional right allegedly infringed.”
Albright v. Oliver, 510 U.S. 266, 271 (1994).

In his Complaint, Plaintiff alleges that he was subject to
malicious prosecution in violation of the Fourteenth Amendment to
the United States Constitution (Pl.'s Cplt. I 31), as well as
false arrest, false imprisonment, unreasonable seizure, and abuse
of process in violation of the Fourth Amendment. (Pl.'s Cplt. I
22.) The Court will analyze these claims in turn.

A. Malicious Prosecution

In his Complaint, Plaintiff asserts that his claim for
malicious prosecution arises under the Fourteenth Amendment.6 In
order to assert a claim for malicious prosecution, the Plaintiff
must have actually been prosecuted for a criminal offense. §§e
McKinlev v. Citv of Mansfield, _m F.3d __, 2005 WL 819969, *19,
No. 03-4258 (6th Cir. April 11, 2005). A claim for malicious
prosecution may not be asserted solely based upon a police
officer’s turning over evidence to prosecuting authorities. ld;
Even when a prosecution is undertaken, a police officer may not
be held liable for malicious prosecution where he did not make
the decision to prosecute. Skousen v. Brighton High School, 305

F.3d 520, 529 (6th Cir. 2002). Furthermore, where there is

 

5 A claim for malicious prosecution generally falls within

the Fourth Amendment, however, rather than the Fourteenth
Amendment. In his response to Defendants' motion, Plaintiff
cites no legal authority to indicate that his Claim for malicious
prosecution is properly stated under the Fourteenth Amendment.

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probable cause to prosecute, an action for malicious prosecution
will not lie. McKinley, 2005 WL 819969 at *19.7

lt is undisputed that Plaintiff was never prosecuted for the
crime for which he was arrested.8 Accordingly, Plaintiff may
not, as a matter of law, assert a claim of malicious prosecution
against Defendants.

B. False Arrest, Unreasonable Seizure, False Imprisonment,
and Abuse of Process

Plaintiff contends in his Complaint that Defendants are
liable to him for an unreasonable seizure of his person under the
Fourth Amendment, as well as false arrest, false imprisonment and
abuse of process. “[T]he claims of false arrest and false
imprisonment by police officers acting while on duty are
essentially the same since the alleged false imprisonment arises
out of and logically follows the arrest of plaintiffs.” Ross v.
Meyers, 883 F.2d 486, 487 (6th Cir. 1989)(citation omitted). The
Court therefore construes Plaintiff's claims for false arrest,
false imprisonment, unreasonable seizure, and abuse of process as

one claim asserting false arrest under the Fourth Amendment.

 

7 The Court finds below that probable cause existed for
Plaintiff’s arrest.

5 Although Plaintiff contends that he was originally
arrested for the crime of theft of property, he points to no
evidence in the record that he was ever prosecuted for such a
crime.

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The right to be free from an arrest without probable cause
is clearly established. See California v. Hodari D., 499 U.S.
621, 624 (1991); Holt v. Artis, 843 F.2d 242, 246 (6th Cir.
1988). lt is also well established that an officer violates a
plaintiff's constitutional rights by requesting a warrant which
allegedly leads to a false arrest only when the officer states a
deliberate falsehood or acts with a reckless disregard for the
truth. Ahlers v. Schebil, 188 F.3d 365, 373 (6th Cir. 1996).
There can be no claim for false arrest under § 1983 where
sufficient probable cause existed to support an arrest.

Ahlers, 188 F.3d at 374. Accordingly, to prevail on such a
claim, Plaintiff must prove that the arrest was without probable
cause.

Here, it is undisputed that Sgt. Mayes obtained a warrant
for Plaintiff's arrest for tampering with evidence and
fabricating evidence. Accordingly, a judicial officer determined
that Plaintiff's arrest was supported by probable cause.
Further, having reviewed the entire record and the parties’
submissions, the Court finds that no genuine issues of material
fact exist regarding whether probable cause actually existed to

arrest Plaintiff for the offense for which he was charged.9

 

9 Even assuming, as Plaintiff contends, that Sgt. Mayes made
comments during the arrest that Plaintiff was being arrested for
theft of property, that asserted fact has no bearing upon whether
probable cause existed to arrest Plaintiff for tampering with and
fabricating evidence.

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Additionally, Plaintiff points to no evidence in the record to
show that Sgt. Mayes secured the warrant against Plaintiff by
stating any deliberate falsehood or acting with reckless
disregard for the truth. Accordingly, Plaintiff’s claims against
Sgt. Mayes under § 1983 must fail.10

A municipality may, in turn, be held liable under 42 U.S.C §
1983 only if a constitutional or federal statutory violation by
the individual officer involved in the incident is established.
_ee Parratt, 451 U.S. at 535; §lggk, 156 F.3d at 677. Therefore,
Plaintiff may only assert a claim against Defendant Shelby County
if it is established that Defendant Sgt. Mayes committed a
constitutional violation. The Court has found that Sgt. Mayes
did not commit any constitutional violation against Plaintiff.
Accordingly, Plaintiff’s claim against Shelby County must fail.

Even if Sgt. Mayes had committed a constitutional violation,
however, a municipality may be held liable under Section 1983
only if the municipality itself caused the constitutional
deprivation. Monell v. Dep't of Soc. Servs. of New York, 436
U.S. 658, 690 (1978). Before a local governmental unit can be

held liable for injuries pursuant to Section 1983, “a plaintiff

 

w The Court further finds that Plaintiff's claims against
Sgt. Mayes would also be barred by qualified immunity, since
Plaintiff points to no evidence in the record to show that Sgt.
Mayes did not act within the objectively reasonable belief that
his actions were lawful or that Sgt. Mayes knowingly or
intentionally violated Plaintiff's constitutional rights. gee
Ahlers, 188 F.3d at 372-73.

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must show that his injuries were the result of some ‘policy or
custom' attributable to the governmental entity.” Leach v.
Shelbv Countv Sheriff, 891 F.2d 1241, 1245 (6th Cir. 1989)
(quoting Monell, 436 U.S. at 690}. A municipality is not liable
under Section 1983 for an injury inflicted solely by its
employees or agents, but rather it is only liable when the
“execution of the government’s policy or custom ... inflicts the
injury.” Citv of Canton v. Harris, 489 U.S. 378, 385 (1989).
The governmental entity is liable under Section 1983 only when
the entity itself is a “moving force” behind the deprivation of
constitutional rights. Kentuckv v. Graham, 473 U.S. 159, 166
(1985).

The “first inquiry in any case alleging municipal liability
under § 1983 is the question whether there is a direct causal
link between a municipal policy or custom and the alleged
constitutional deprivation.” Mgnell, 436 U.S. at 690. Further,
the policy or custom must evidence deliberate indifference on the
part of the municipality. Monell, 436 U.S. at 388 (“[o]nly
where a municipality's failure to train its employees in a
relevant respect evidences a ‘deliberate indifference' to the
rights of its inhabitants can such a shortcoming be properly

thought of as a city ‘policy or custom' that is actionable under

§ 1983.”)

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Here, Plaintiff contends that Defendant Shelby County failed
to train Sgt. Mayes regarding the proper method of securing a
warrant and making an arrest. The only evidence to which
Plaintiff points to support this argument is a list of courses
taken by Sgt. Mayes, which does not include a course whose title
indicates that it involves securing warrants and making arrests.
(See Pl.'s Resp. to Defs.’ Mot. for Summ. J., Ex. A.) It is
undisputed, however, that Sgt. Mayes received on the job training
regarding the proper methods of securing a warrant and making an
arrest. Plaintiff points to no evidence in the record to show
that such training was inadequate, let alone that it amounted to
a policy or custom that evidenced a deliberate indifference
towards Plaintiff. Accordingly, Plaintiff's asserted § 1983
claim against Defendant Shelby County must fail.
IV. CONCLUSION

For the foregoing reasons, Defendants' motion for summary

judgment is GRANTED and Plaintiff’s claims are DISMISSED.

So ORDERED this 6th day of May, 2005. _
H\‘M

JON P. MCCALLA
UN TED STATES DISTRICT JUDGE

 

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UN1TE S'T'S D1STR1CT oURT - WESTENR D11TRCT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 93 in
case 2:03-CV-02405 Was distributed by fax, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

